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 7                                                                 The Honorable Ronald B. Leighton

 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10 JUDITH COX and CHARLES COX
     individually and as Personal                       NO. 14-05923RBL
11 Representatives of the Estates of C.J.P.
     and B.T.P.,                                        DECLARATION OF PETER J.
12                                                      HELMBERGER IN SUPPORT OF
                                                        DEFENDANTS' REPLY ON
13                              Plaintiffs,             MOTION FOR SUMMARY
                                                        JUDGMENT
14                              V.

15   STATE OF WASHINGTON,
     DEPARTMENT OF SOCIAL AND
16   HEALTH SERVICES, FOREST
     JACOBSON, ROCKY STEPHENSON,
17   JANE WILSON, and BILLIE REED-
     LYYSKI,
18

19                              Defendants.

20          PETER J. HELMBERGER hereby declares under penalty of peijury under the laws of the

21   state of Washington that the following is true and correct:

22          1.      I am over the age of 18, competent to testify as to the matters stated herein and

23   make this declaration based on my personal knowledge. I am one of the Assistant Attorneys

24   General assigned to represent the State of Washington in this case.

25          2.      Attached hereto as Exhibit A is a true and correct copy of an excerpt from the

26   deposition of Teresa Berg, taken September 18, 2014, pages 12-13.

      DECLARATION OF PETER J.                            1                 OFFICE OF THE ATTORNEY GENERAL
                                                                                1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                         P.O. Box 2317
      DEFENDANTS' REPLY ON MOTION                                                    Tacoma, WA 98401
      FOR SUMMARY JUDGMENT                                                            (253) 593-5243
      Case No. 14-05 923 RBL
            3.     Attached hereto as Exhibit B is a true and correct copy of the Motion to Place
 2
     Children in In-Home Dependency or, in the Alternative, to Modify Placement, dated January 9,
 3
     2012. This motion was filed by Jeffrey Bassett, Attorney for Joshua Powell in the dependency

     proceedings; Pierce County Cause Nos. 11-7-01802-8 and 11-7-01803-6.

            DATED this 21st day of August, 2015 in Tacoma, Washington.



                                                           /
 8                                            PETER J7IELMBERGE1, WSBA No. 23041
                                              Assistailt Attorney General
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      DECLARATION OF PETER J.                       2               OFFICE OF THE ATTORNEY GENERAL
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